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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
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                               June 05, 2025


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      No. 25-60019       Susquehanna Nuclear v. FERC
                         Agency No. 189 FERC 61,078


Dear Counsel,
We have filed the certified list. Pursuant to the May 20, 2025
court order, PETITIONER’S BRIEF IS DUE WITHIN 60 DAYS FROM THE
DATE ABOVE, See Fed. R. App. P. and 5th Cir. R. 28, 30 and 31.
Except in the most extraordinary circumstances, the maximum
extension for filing briefs is 40 days in agency cases. See also
Fed. R. App. P. 30.1.2 and Fed. R. App. P. 31.1 to determine if
you have to file electronic copies of the brief and record
excerpts, and the Portable Document Format (PDF) you MUST use.
See also Fed. R. App. P. 30.1 for the contents of the Record
Excerpts which are filed instead of an appendix. You may access
our   briefing  checklist   on   the   Fifth  Circuit’s  website
"http://www.ca5.uscourts.gov/docs/
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default-source/forms-and-documents---clerks-office/rules/
brchecklist.pdf".   An intervenor’s time is governed by Fed. R.
App. P. 31.2. Fed. R. App. P. 42.3.2 allows the clerk to dismiss
appeals without notice if the brief is not filed on time.
The caption for this appeal is attached, and we ask you to use it
on any briefs filed with this court.
Because this case is proceeding on a certified list of documents
instead of the record, see Fed. R. App. P. 30.2. Petitioner must
obtain a copy of the portions of the record relied upon by the
parties in their briefs, and file them within 21 days from the
date of filing of respondent’s brief, with suitable covers,
numbering and indexing.
Brief Template: The clerk’s office provides brief templates and
a tool to check briefs for potential deficiencies before docketing.
To access these resources, log in to CM/ECF and select ‘Brief
Template’ (Counsel Only) or ‘PDF Check Document’ from the Utilities
menu or the "Attorney Toolbox".

Reminder Regarding Sealed Documents: Our court presumes the public
has a right to court records, and request to seal pleadings, record
excerpts, or other documents must be justified with particularity.
Simply stating that the originating court sealed the matter is
insufficient. Counsel is responsible for justifying a request to
file under seal, as well as for notifying the court when sealing
is no longer necessary. An unopposed motion to seal does not
relieve counsel of the obligation to justify the motion.


                            Sincerely,
                            LYLE W. CAYCE, Clerk


                            By: _________________________
                            Shea E. Pertuit, Deputy Clerk
                            504-310-7666
Enclosure(s)
cc w/encl:
     Mr. Stan Berman
     Mr. Steven G. Boughton
     Mr. Shannen Wayne Coffin
     Mr. Jared Fish
     Mr. Nicholas M. Gladd
     Ms. Marnie A. McCormick
     Mr. Robert Harris Solomon
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                           Case No. 25-60019
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No. 25-60019
consolidated with
No. 25-60264
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Susquehanna Nuclear, L.L.C.,
                       Petitioner
v.
Federal Energy Regulatory Commission,
                       Respondent
